




NO. 07-08-0184-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



MARCH 13, 2009



______________________________





DONALD R. PEASE, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 137TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2007-415,574; HONORABLE CECIL G. PURYEAR, JUDGE



_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

MEMORANDUM OPINION

Following a plea of not guilty, Appellant, Donald R. Pease, was convicted by a jury of aggravated robbery with an affirmative finding on use of a deadly weapon and sentenced to twenty-eight years confinement. &nbsp;
In presenting this appeal, counsel has filed an 
Anders
(footnote: 1) brief in support of a motion to withdraw. &nbsp;We grant counsel’s motion and
 
affirm.

In support of his motion to withdraw, counsel certifies he has conducted a conscientious examination of the record and, in his opinion, the record reflects no potentially plausible basis to support an appeal. &nbsp;
Anders v. California
, 386 U.S. 738, 744-45, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967); 
In re Schulman
, 252 S.W.3d 403, 406 (Tex.Crim.App. 2008)
. 
 Counsel has candidly discussed why, under the controlling authorities, the appeal is frivolous.
 &nbsp;
See
 
High v. State
, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978). &nbsp;Counsel has also demonstrated that he has complied with the requirements of 
Anders
 and 
In re Schulman
 by (1) providing a copy of the brief to Appellant, (2) notifying him of his right to file a pro se response if he desired to do so, and (3) informing him of his right to file a pro se petition for discretionary review
. &nbsp;
In re Schulman
, 
252 S.W.3d at
 408.
(footnote: 2) &nbsp;By letter, this Court granted Appellant thirty days in which to exercise his right to file a response to counsel’s 
brief, should he be so inclined. &nbsp;
Id. 
at n.23. &nbsp;Appellant
 
did not file a
 
response. &nbsp;Neither did the State favor us with a brief.



Potential Issues

By the 
Anders
 brief, counsel raises three potential issues, to-wit: (1) the evidence was legally insufficient to support Appellant’s conviction; (2) the evidence was factually insufficient to support Appellant’s conviction; and (3) the non-accomplice evidence was insufficient to corroborate the testimony of Clifford Johnson, Appellant’s co-actor. &nbsp;Counsel then explains why the issues have no merit. &nbsp;

 
	
We have independently examined the entire record to determine whether there are any non-frivolous issues which might support the appeal. &nbsp;
See
 
Penson v. Ohio
, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); 
In re Schulman
, 252 S.W.3d at 409;
 Stafford
 
v. State
, 813 S.W.2d 503, 511 (Tex.Crim.App. 1991). &nbsp;We have found no such issues. &nbsp;
See Gainous v. State
, 436 S.W.2d 137 (Tex.Crim.App. 1969). &nbsp;After reviewing the record and counsel’s brief, we agree with counsel that there are no plausible grounds for appeal. 
 
See
 
Bledsoe v. State
, 178 S.W.3d 824 (Tex.Crim.App. 2005).

Accordingly, counsel's motion to withdraw is granted and the trial court’s judgment is affirmed. 

Patrick A. Pirtle

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice



 &nbsp;&nbsp;

Do not publish.
														

FOOTNOTES
1:Anders v. California
, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).


2:Notwithstanding that Appellant was informed of his right to file a pro se petition for discretionary review upon execution of the 
Trial Court’s Certification of Defendant’s Right of Appeal
, counsel must comply with Rule 48.4 of the Texas Rules of Appellate Procedure which provides that counsel shall within five days after this opinion is handed down, send Appellant a copy of the opinion and judgment together with notification of his right to file a pro se petition for discretionary review.
 &nbsp;
In re Schulman
, at 408 fn.22 &amp; at 411 fn.35.




